Case 2:16-cv-13174-DML-SDD
              Case: 19-2372 ECF
                            Document:
                                No. 165
                                      5-1filedFiled:
                                               12/19/19
                                                     12/19/2019
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                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                 100 EAST FIFTH STREET, ROOM 540
    Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                  Tel. (513) 564-7000
        Clerk                       CINCINNATI, OHIO 45202-3988                www.ca6.uscourts.gov




                                                  Filed: December 19, 2019




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 Law Offices
 33 Bloomfield Hills Parkway, Suite 220
 Bloomfield Hills, MI 48304

                      Re: Case No. 19-2372, In re: John Doe
                          Originating Case No.: 2:16-cv-13174

 Dear Counsel,

    The Court issued the enclosed Order today in this case. Prior to filing the required response,
 counsel for respondents must file an appearance of counsel form.

                                                  Sincerely yours,

                                                  s/Laura A. Jones
                                                  Case Management Specialist
                                                  Direct Dial No. 513-564-7023

 cc: Mr. David J. Weaver

 Enclosure
Case 2:16-cv-13174-DML-SDD
              Case: 19-2372 ECF
                            Document:
                                No. 165
                                      5-2filedFiled:
                                               12/19/19
                                                     12/19/2019
                                                           PageID.5175
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                                            No. 19-2372
                                                                                       FILED
                            UNITED STATES COURT OF APPEALS                       Dec 19, 2019
                                                                            DEBORAH S. HUNT, Clerk
                                 FOR THE SIXTH CIRCUIT


 In re: JOHN DOE,                                         )
                                                          )          ORDER
        Petitioner.                                       )




        John Doe, the plaintiff in the proceedings below, petitions for a writ of mandamus directing

 the district court to give effect to this court’s earlier mandate in Doe v. Baum, No. 17-2213, 903

 F.3d 575 (6th Cir. 2018). In accordance with Federal Rule of Appellate Procedure 21(b)(1), the

 respondents, defendants in the case below, are ORDERED to file an answer within twenty-one

 (21) days from the entry date of this order.

                                                ENTERED BY ORDER OF THE COURT




                                                Deborah S. Hunt, Clerk
